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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               NORTHERN DIVISION


PHARMACEUTICAL RESEARCH
AND MANUFACTURERS OF
AMERICA,

   Plaintiff,                                             No. 1:24-cv-01631-MJM
                                               (filed in Consolidated Case No. 1:24-cv-1557)
                v.
                                                         Judge Matthew J. Maddox
ANTHONY BROWN, in his official
capacity as Attorney General of
Maryland, et al.,

   Defendants.


                                   NOTICE OF APPEAL

       Notice is hereby given that Plaintiff Pharmaceutical Research and Manufacturers of

America (“PhRMA”) appeals to the United States Court of Appeals for the Fourth Circuit from

this Court’s Order denying PhRMA’s motion for a preliminary injunction (ECF No. 16,

Pharmaceutical Manufacturers of America v. Brown, No. 1:24-cv-01631), which was entered on

September 5, 2024, following the Court’s oral ruling on September 4, 2024. See ECF Nos. 55, 57,

Novartis Pharmaceuticals Corp. v. Brown, No. 1:24-cv-01557.
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Dated: October 3, 2024           Respectfully submitted,

                                 /s/ Andrew D. Prins
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2024, a copy of the foregoing Notice of Appeal was

electronically filed with the Clerk of the Court via the Court’s CM/ECF system, which sent

notification of such filing to all counsel of record.



                                                        /s/ Andrew D. Prins
                                                        Andrew D. Prins
